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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

 Terves LLC,                                     )
                                                 )    Case No. 1:19-cv-1611-DCN
               Plaintiff,                        )
                                                 )    Judge Donald C. Nugent
       v.                                        )
                                                 )
 Yueyang Aerospace New Materials Co.             )
 Ltd. et al.,                                    )
                                                 )
               Defendants.                       )

                             [Proposed] Amended Scheduling Order
            Having considered the Parties’ Joint Motion for Extension of Remaining Deadlines,

the Court rules that the existing deadlines are extended as follows:

                        Event                        Current Deadline       New Deadline
 Final Infringement Contentions                        April 13, 2021          June 14, 2021
 Status Conference per Local Patent Rule               April 28, 2021          June 28, 2021
 4.7
 Final Noninfringement, Invalidity, and                April 28, 2021          June 28, 2021
 Unenforceability Contentions
 Final Validity and Enforceability                     May 13, 2021            July 12, 2021
 Contentions
 Close of Fact Discovery                               April 28, 2021        June 28, 2021
 Initial Expert Disclosures                            May 28, 2021           July 27, 2021
 Rebuttal Expert Disclosures                           June 28, 2021        August 27, 2021
 Close of Expert Discovery                            August 9, 2021        October 8, 2021
 Final Dispositive Motions                            August 19, 2021       October 18, 2021

            IT IS SO ORDERED.

            Dated this __ day of __________, 2021.



                                                      ___________________________
                                                      Honorable Judge Donald C. Nugent
                                                      United States District Judge
{9497972: }                                      1
